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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                                          )
v.                                                               Case Number: 1:17-CR-0224-AT-CMS-1
                                                          )      USM Number: 65828-019
ALLEN J. PENDERGRASS                                      )
                                                          )     Sydney Strickland & Saraliene Smith Durrett
                                                          )      Defendant’s Attorneys


THE DEFENDANT:

The defendant was found guilty on counts 1 through 10 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                         Offense Ended          Count

18 U.S.C. §§ 1341 and 2              Mail Fraud                                April, 2014             1-5


18 U.S.C. § 1956(h)                  Money Laundering Conspiracy               April, 2014              6

18 U.S.C. § 1028A                    Aggravated Identity Theft                 April, 2014             7-10

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         February 24, 2025
                                                         Date of Imposition of Judgment




                                                         Signature of Judge

                                                         AMY TOTENBERG, SENIOR U. S. DISTRICT
                                                         JUDGE
                                                         Name and Title of Judge

                                                         February 24, 2025
                                                         Date
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Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of: SIX (6) MONTHS as to each of Count 1 through 6 to be served CONCURRENTLY to each
other, and TWENTY-FOUR (24) MONTHS as to each of Counts 7 through 10 to be served
CONCURRENTLY to each other and CONSECUTIVELY to Counts 1 through 6 for a total term of
imprisonment of THIRTY (30) MONTHS.

      The Court recommends that defendant serve his term of imprisonment at the Bureau of Prisons FPC
Montgomery facility.

         The Court further recommends the defendant be promptly evaluated for enrollment in the RDAP
program.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons as notified by the United States Marshal. The defendant shall not be required to report earlier than May
12, 2025.
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                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                        DEPUTY UNITED STATES MARSHAL
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Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                           SUPERVISED RELEASE

         Upon release from imprisonment, you will be on supervised release for a term of: SIX (6) MONTHS.

        You must report to the probation office in the federal judicial district where you are authorized to reside
within 72 hours of the time you are released from imprisonment, unless the probation officer instructs you to
report to a different probation office or within a different time.



                                        MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and two periodic drug tests thereafter.
4. With the assistance of your Probation Officer, you shall identify and participate in a group alcohol abuse
   program for at least four months following your release from prison.
5. You must cooperate in the collection of DNA as directed by the probation officer.
6. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
7. You must not own, possess or have under your control any firearm, dangerous weapon or other destructive
   device as those terms are defined in 18 U.S.C. § 921 (i.e., anything that was designed, or was modified for,
   the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
   2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7. You must work (at least 20 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
       so for advanced age or health related reasons. If you plan to change where you work or anything about your work (such as your
       position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
       probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
       the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
       the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                    Date

 USPO's Signature                                                         Date
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                                SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

If there is reasonable suspicion as discussed below, Probation may require you to submit your person, property,
house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic
communications or data storage devices or media, or office, to a search conducted by a United States Probation
Officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search
pursuant to this condition only when reasonable suspicion exists that you violated a condition of your supervision
and that areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable
time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.
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Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                          CRIMINAL MONETARY PENALTIES

                   Special Assessment

TOTAL              $1000.00

                   The assessment shall be paid to Clerk, U.S. District Court, Northern District of Georgia.

                        The Court finds that the defendant does not have the ability to pay a fine and cost of
                 incarceration. The Court waives the fine and cost of incarceration in this case.

                   Fine

TOTAL              $0

                   Restitution

TOTAL              $221,298.36

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victims must be paid before the United States is paid.

 Name of Payee                           Total Loss*****         Restitution Ordered

 City of Atlanta                         $194,775.37             $194,775.37
 Finance Department
 68 Mitchell Street
 Suite 11100
 Atlanta, Georgia 30303

 Harris County Texas                     $5,184.83               $5,184.83
 C/O Ann Harris Bennett
 Harris County Tax
 Collector
 P.O. Box 4622
 Houston, Texas 77210-
 4622

 Fort Collins Colorado                   $21,338.16              $21,338.16
 City of Fort Collins
 P.O. Box 580
 Fort Collins, Colorado
 80522
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 TOTALS                         $221,298.36                    $221,298.36

The court determined that the defendant does not have the ability to pay interest and it is ordered that the interest
requirement is waived for the restitution. Further, the court has determined that the Defendant has limited means
at this time and will only be able to pay the amounts due on a fractional basis over time as set forth below.



                                            SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A.     Payment in equal monthly- installments of $100.00, totaling $5,000.00, over a period of FIVE (5) YEARS,
        to commence immediately after the publication date of this judgment.

 B.     Payment of the $216,298.36 balance of restitution during the term of supervised release will commence SIXTY
        (60) DAYS after release from imprisonment at a monthly rate of $100.00. The supervising probation officer may
        determine an increase or reduction of the monthly rate based upon defendant’s ability to pay.
